                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                             Civil Action No.: 5:17-cv-00534-H

                                              )
EPIC GAMES, INC.,                             )
                                              )
                 Plaintiff,                   )
                                              )
                                                      PLAINTIFF’S MEMORANDUM OF
v.                                            )
                                                      LAW IN SUPPORT OF MOTION TO
                                              )
                                                                  SEAL
C.R.,                                         )
                                              )
                 Defendant.                   )
                                              )
                                              )
                                              )

                 PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT
                              OF MOTION TO SEAL

        Plaintiff Epic Games, Inc. (“Plaintiff” or “Epic”) submits this Memorandum in Support

of Plaintiff’s Motion to Seal its Response to Defendant C.R.’s Motion to Dismiss (“Response”).

Plaintiff’s Motion should be granted because: (a) the Response contains private personal

information concerning Defendant, who Epic has reason to believe is a minor; (b) such

information is protected from public disclosure under Local Civil Rule 17.1(c) and Rule

5.2(a)(3) of the Federal Rules of Civil Procedure, see id.; see also Yagoda v. New Hanover Child

Protective Servs., No. 7:11-CV-00122-BO, 2011 WL 3911114, at *1 (E.D.N.C. June 30, 2011),

report and recommendation adopted sub nom., Yagoda v. Davis, No. 7:11-CV-122-BO, 2011

WL 3911111 (E.D.N.C. Sept. 5, 2011) (directing the Clerk to seal filed paper and noting “[i]n

order to protect a minor's privacy, Rule 5.2(3) of the Federal Rules of Civil Procedure provides

that only the minor's initials should be included in filings with the court”), thereby overcoming

the common law and First Amendment presumption to access; and (3) any alternatives are




PPAB 4147633v1
           Case 5:17-cv-00534-H Document 19 Filed 04/23/18 Page 1 of 4
inadequate to protect the minor’s personal information and still provide the Court with the

necessary information to review the Response.

                                          ARGUMENT

I.     The Documents and Information for which Protection is Requested.

       Plaintiff seeks to seal Plaintiff’s Response because it contains personal information

regarding the Defendant in this matter, who is likely a minor.

II.    The Motion To Seal Does Not Violate The Common Law And First Amendment
       Right To Access.

       A motion to seal should be granted when the right to access to the documents, as

protected by both the common law and the First Amendment, is not violated. Stone v. Univ. of

Md. Med. Sys. Corp., 855 F.2d 178, 180 (4th Cir. 1988). The court begins with a presumption of

a public’s right to access; however, this presumption may be overcome when there is a

competing interest that outweighs the interest to access. Id.

       Here, the minor’s privacy interests outweigh the public interest to access. There is no

proper purpose or public service that could be achieved by public disclosure of the private details

concerning Defendant contained in the Response. On the other hand, as noted above, such

information is protected from public disclosure under Local Civil Rule 17.1(c) and Rule

5.2(a)(3) of the Federal Rules of Civil Procedure. Accordingly, the statutorily recognized interest

of the minor’s privacy rights outweighs the minimal interest of the public and, therefore,

overcomes the presumption to access of the public to this information.

III.   The Alternative to Sealing are Inadequate.

       The alternatives to sealing are insufficient. An alternative to sealing would be redacting

specific sensitive information from the Court’s copy of the filings. However, the purpose of the

inclusion of this information is to provide the Court with information and evidence necessary to




           Case 5:17-cv-00534-H Document 19 Filed 04/23/18 Page 2 of 4
find that Defendant’s Motion to Dismiss should be denied, and Plaintiff should be permitted to

resubmit its Motion for Entry of Default. This analysis involves consideration of personal

information related to the Defendant. A redacted version of Plaintiff’s Response will be filed for

public view.

IV.    The Requirements of the Court’s Manual have been Met.

       Plaintiff has met the requirements of the Manual by (1) specifying the exact document or

item for which sealing is requested; (2) detailing how this request overcomes the common law

and First Amendment presumption to access; (3) specifying the specific qualities of the material

that justify the sealing; and (4) providing the reasons why alternatives to sealing are inadequate.

       Accordingly, Plaintiff request that Plaintiff’s Motion to Seal be granted, and Plaintiff’s

Response to Defendant C.R.’s Motion to Dismiss be maintained under seal.

       This 23rd day of April, 2018.

                                              PARKER POE ADAMS & BERNSTEIN LLP

                                              /s/ Christopher M. Thomas
                                              Christopher M. Thomas
                                              N.C. State Bar No. 31834
                                              christhomas@parkerpoe.com
                                              Tasneem A. Dharamsi
                                              N.C. State Bar No. 47697
                                              tasneemdelphry@parkerpoe.com
                                              PARKER POE ADAMS & BERNSTEIN LLP
                                              150 Fayetteville Street, Suite 1400
                                              Post Office Box 389
                                              Raleigh, North Carolina 27602-0389
                                              Telephone: (919) 828-0564
                                              Facsimile: (919) 834-4564


                                              Attorneys for Plaintiff
                                              Epic Games, Inc.




           Case 5:17-cv-00534-H Document 19 Filed 04/23/18 Page 3 of 4
                              CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing PLAINTIFF’S MEMORANDUM OF

LAW IN SUPPORT OF PLAINTIFF’S MOTION TO SEAL was electronically filed this day

with the Clerk of Court using the CM/ECF system and that a true and accurate copy of it was

sent to all parties to this cause by depositing the original and/or copy hereof, postage pre-paid, in

the United States mail, addressed as follows:


                                               C.R.
                                        c/o Lauren Rogers
                                          501 West Ave.
                                      New Castle, DE 19720



       This the 23rd day of April, 2018.



                                                PARKER POE ADAMS & BERNSTEIN LLP

                                                /s/ Christopher M. Thomas
                                                Christopher M. Thomas
                                                N.C. State Bar No. 31834
                                                christhomas@parkerpoe.com
                                                Tasneem A. Dharamsi
                                                N.C. State Bar No. 47697
                                                tasneemdelphry@parkerpoe.com
                                                PARKER POE ADAMS & BERNSTEIN LLP
                                                150 Fayetteville Street, Suite 1400
                                                Post Office Box 389
                                                Raleigh, North Carolina 27602-0389
                                                Telephone: (919) 828-0564
                                                Facsimile: (919) 834-4564


                                                Attorneys for Plaintiff
                                                Epic Games, Inc.




           Case 5:17-cv-00534-H Document 19 Filed 04/23/18 Page 4 of 4
